       Case 3:06-cv-05566-CRB Document 738 Filed 05/04/09 Page 1 of 5




 1   ELIZABETH HOPKINS, D.C. Bar # 405110
     ROBERT L. FURST, D.C. Bar # 347211
 2   U.S. Dept. of Labor, Office of the Solicitor
     Plan Benefits Security Division
 3
     200 Constitution Avenue, N. W., Room N-4611
 4   Washington, DC 20210
     Telephone: (202) 693-5626, Facsimile: (202) 693-5610
 5   Email: hopkins.elizabeth@dol.gov
 6          furst.robert@dol.gov

 7   Attorneys for Proposed Intervenor, Secretary
     of the United States Department of Labor
 8
 9                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                              SAN FRANCISCO DIVISION
11
12   BEVERLY KANAWI, ET AL.,

13                                 Plaintiffs                       Civil Action No.
                     vs.
14                                                                C 06-5566 CRB-EDL
15   BECHTEL CORPORATION , ET AL.,

16                                 Defendants
17
18       MEMORANDUM IN SUPPORT OF SECRETARY OF LABOR'S MOTION TO
                INTERVENE AND MODIFY PROTECTIVE ORDER
19
20           Pursuant to Rule 24(a)(1) of the Federal Rules Civil Procedure, the Secretary of

21   Labor ("Secretary") of the United States Department of Labor ("DOL") has moved to

22   intervene for the limited purpose of seeking to obtain the briefs and evidence presented to

23   this Court on the parties' summary judgment motions. The Secretary seeks these materials

24   in order to determine whether to participate as amicus curiae if this case is appealed to the

25   United States Court of Appeals for the Ninth Circuit, and to have access to relevant

26   evidence should she decide to participate.

27           Rule 24(a)(1), Fed. R. Civ. P., provides for intervention of right when authorized

28   by a federal statute:

     Memorandum in Support of Motion to Intervene and to Modify                        Page 1
     Protective Order

     Case No. C 06-5566-CRB-EDL
         Case 3:06-cv-05566-CRB Document 738 Filed 05/04/09 Page 2 of 5




 1                        (a) Intervention of Right. On timely motion, the court must permit
                    anyone to intervene who:
 2
                                    (1) is given an unconditional right to intervene by
 3
                            a federal statute, . . . .
 4
     In an action like this one that alleges fiduciary violations of Title I of ERISA, ERISA
 5
     § 502(h) gives the Secretary of Labor an unconditional right to intervene. Referring to the
 6
     Secretary of Labor and the Secretary of the Treasury and Title I of ERISA, ERISA
 7
     § 502(h) grants the Secretary of Labor an unconditional right to intervene in civil actions
 8
     brought under that title:
 9
                    Either Secretary shall have the right in his discretion to
10                  intervene in any action, except that the Secretary of the
11                  Treasury may not intervene in any action under part 4 of this
                    subtitle.
12
     29 U.S.C. § 1132(h). Procedurally, intervention through Rule 24 is an established method
13
     by which a nonparty can seek to modify a protective order. E.g., Beckman Industries, Inc.
14
     v. International Insurance Co., 966 F. 2d 470 (9th Cir. 1992); Pansy v. Borough of
15
     Stroudsburg, 23 F.3d 772, 777 (3rd Cir. 1994) (collects cases).
16
             The Secretary also has express authority to file amicus curiae briefs as of right in
17
     the United States Courts of Appeals. Fed. R. App. P. 29(a). The District Court's opinion
18
     in this case ruled on several important legal issues which the Secretary may want to
19
     address on appeal, assisting the Ninth Circuit’s consideration of the ERISA issues
20
     presented. 1 Review of the arguments presented to this Court, and the evidentiary support
21
     for those arguments, is essential to her decision whether to participate, and to allow her to
22
     meaningfully address the issues if she does. 2 Accordingly, the Secretary requests
23
24
25   1
       For example, this Court ruled, in accordance with the DOL's regulation, that ERISA
26   section 404(c), 29 U.S.C. § 1104(c), does not shield a party from liability for claims of
     imprudent selection of plan investment options. 590 F. Supp.2d 1213 (N.D. Cal. 2008).
27   Clearly, the Secretary has a substantial interest in the interpretation and application of
28   ERISA section 404(c) and DOL's regulation.

     Memorandum in Support of Motion to Intervene and to Modify                      Page 2
     Protective Order

     Case No. C 06-5566-CRB-EDL
          Case 3:06-cv-05566-CRB Document 738 Filed 05/04/09 Page 3 of 5




 1   modification of the protective order to obtain the briefs submitted to the court in support

 2   of and in opposition to the parties' summary judgment motions, and the evidence the

 3   parties cited in the briefs.

 4             Concern about the privacy of the parties' business and pension plan information,

 5   which supported the imposition of a protective order, is not an appropriate basis to

 6   preclude the Secretary’s access to the information requested. The risk of competitive

 7   harm from disclosure of sensitive commercial information, which may support a

 8   protective order to ensure confidentiality as to private parties, has no application to the

 9   Secretary. The Secretary's interest is in compliance with the law, not economic advantage.

10   Review of the District Court's opinion indicates that the evidence presented to the court in

11   support of the parties’ motions for summary judgment is similar in nature to the

12   information the Secretary obtains in the course of investigating potential violations of law,

13   pursuant to the investigatory authority conferred by ERISA section 504(a), 29 U.S.C.

14   § 1134. Accordingly, the Secretary respectfully requests that she be granted access to the

15   requested briefs and evidence, allowing her to pursue her statutory interest in compliance

16   with the requirements of ERISA. See In re Film Recovery Sys., Inc., 804 F.2d 386, 388-

17   89 (7th Cir. 1986) (on finding of no "tangible prejudice" to existing parties, protective

18   order modified to permit nonparty state of Illinois access to protected materials relevant to

19   the state's investigation and litigation of environmental law claims); Wilk v. Amer. Med.

20   Ass'n, 635 F.2d 1295, 1301 (7th Cir. 1981) (protective order modified to allow intervenor

21   state of New York, plaintiff in a collateral antitrust suit, "access to all of the Wilk

22   discovery on the same terms as the Wilk plaintiffs"); United States v. GAF Corp., 596

23   F.2d 10, 15-16 (2d Cir. 1979) (protective order in private antitrust suit could be modified

24   to permit intervenor United States to enforce an antitrust civil investigative demand for

25   protected material, and the modification also could limit intervenor's use of protected

26   material); Roberts v. Heim, No. C-84-8069, 1989 WL 119063, *3 (N.D. Cal. Aug. 2,

27
     2
28       It is difficult to evaluate the legal issues in this case without access to the facts upon
     Memorandum in Support of Motion to Intervene and to Modify                           Page 3
     Protective Order

     Case No. C 06-5566-CRB-EDL
       Case 3:06-cv-05566-CRB Document 738 Filed 05/04/09 Page 4 of 5




 1   1989) (on evidence that "failed to demonstrate that modification . . . would significantly

 2   prejudice [defendants'] rights, protective order was modified to allow nonparty Internal

 3   Revenue Service access to protected material).

 4                                          CONCLUSION

 5          For the foregoing reasons, the Secretary respectfully requests that this Court grant

 6   the Secretary of Labor's Motion to Intervene and Modify Protective Order.

 7
 8   Dated: May 4, 2009                            Respectfully Submitted,

 9                                                 HILDA L. SOLIS,
                                                   Secretary of Labor
10
                                                   CAROL A. DE DEO
11
                                                   Deputy Solicitor for National Operations
12
                                                   TIMOTHY D. HAUSER
13                                                 Associate Solicitor, PBSD
14
                                                   ELIZABETH HOPKINS
15                                                 Counsel for Appellate
                                                   and Special Litigation
16
17                                          BY:    ___/s/Robert L. Furst__________
18                                                 ROBERT L. FURST
                                                   Senior Trial Attorney
19                                                 Plan Benefits Security Division
                                                   Office of the Solicitor
20                                                 U.S. Department of Labor
21                                                 P.O. Box 1914
                                                   Washington, DC 20013-1914
22                                                 Phone: (202) 693-5626
                                                   Fax: (202) 693-5610
23
24
25
26
27
28
     which the legal arguments are based.
     Memorandum in Support of Motion to Intervene and to Modify                     Page 4
     Protective Order

     Case No. C 06-5566-CRB-EDL
       Case 3:06-cv-05566-CRB Document 738 Filed 05/04/09 Page 5 of 5




 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify that on May 4, 2009, a copy of the foregoing
 3       MEMORANDUM IN SUPPORT OF SECRETARY OF LABOR'S MOTION TO
                INTERVENE AND MODIFY PROTECTIVE ORDER
 4
 5   was filed electronically in this action. Under General Order No. 45, Section IX.A, notice
 6   of this filing will be sent to all parties by operation of the Court's electronic filing system.
 7   Parties may access this filing through the Court's electronic filing system.
 8
 9                                                   ____/s/ Robert L. Furst
10                                                      Senior Trial Attorney

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Memorandum in Support of Motion to Intervene and to Modify                         Page 5
     Protective Order

     Case No. C 06-5566-CRB-EDL
